81 F.3d 150
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William J. NEAL, Jr., Plaintiff-Appellant,v.Aaron JOHNSON;  Franklin E. Freeman, Jr., Defendants-Appellees,andJoseph Hamilton;  Lynn Phillips;  Gary Dixon;  H.B. Byad;D. Foster;  William A. Dudley;  Charles K. Craven,Jr.;  John Doe, # 1;  John Doe, # 2, Defendants.
    No. 95-7645.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 29, 1996.Decided March 28, 1996.
    
      William J. Neal, Jr., Appellant Pro Se.  Sylvia Hargett Thibaut, Assistant Attorney General, Raleigh, North Carolina, for Appellees.
      Before WILKINS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Neal v. Johnson, No. CA-93-563-5-CT-H (E.D.N.C. Sept. 26, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    